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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
___________________________________
                                    )
BOSTON ALLIANCE OF GAY, LESBIAN,    )
BISEXUAL AND TRANSGENDER YOUTH      )
(BAGLY), et al.,                    )
                                    )
                     Plaintiffs,    )
                                    )
v.                                  )          Civil Action
                                    )          No. 20-cv-11297-PBS
UNITED STATES DEPARTMENT OF HEALTH )
AND HUMAN SERVICES, et al.,         )
                                    )
                     Defendants.    )
                                    )


                                   ORDER

                             December 6, 2024

Saris, D.J.

     Plaintiffs challenge a final rule promulgated by the U.S.

Department of Health and Human Services (“HHS”) in June 2020 that

interprets section 1557 of the Patient Protection and Affordable

Care Act. See Nondiscrimination in Health and Health Education

Programs or Activities, 85 Fed. Reg. 37,160 (June 19, 2020) (“the

2020 Rule”). In May 2024, HHS issued a new rule interpreting

section   1557   that   repealed   and   replaced   the   2020    Rule.     See

Nondiscrimination in Health Programs and Activities, 89 Fed. Reg.

37,522 (May 6, 2024) (“the 2024 Rule”). Defendants now move to

dismiss this lawsuit, arguing that HHS’s promulgation of the 2024

Rule has mooted Plaintiffs’ claims challenging the 2020 Rule.



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       “[A] case is moot when the court cannot give any effectual

relief to the potentially prevailing party.” Town of Portsmouth v.

Lewis, 813 F.3d 54, 58 (1st Cir. 2016) (quoting Am. C.L. Union of

Mass. v. U.S. Conf. of Cath. Bishops, 705 F.3d 44, 52 (1st Cir.

2013)). It is a “well-settled principle of law” that “when an

agency      has   rescinded     and   replaced        a    challenged       regulation,

litigation over the legality of the original regulation becomes

moot.” Alaska v. U.S. Dep’t of Agric., 17 F.4th 1224, 1226 (D.C.

Cir.    2021)     (quoting    Akiachak       Native       Cmty. v.     U.S.    Dep’t     of

Interior, 827 F.3d 100, 113 (D.C. Cir. 2016)); see Am. C.L. Union

of Mass., 705 F.3d at 53; Gulf of Me. Fishermen’s All. v. Daley,

292 F.3d 84, 88 (1st Cir. 2002); New Eng. Reg’l Council of

Carpenters v.       Kinton,     284   F.3d    9,    18     (1st   Cir.     2002).       This

principle squarely applies here.

       Plaintiffs’ primary response to this conclusion is that parts

of the 2020 Rule remain in effect because other district courts

have preliminarily enjoined, and/or delayed the effective date of,

aspects of the 2024 Rule. See Tennessee v. Becerra, __ F. Supp. 3d

__,    __   (S.D.   Miss.     2024)   [2024    WL     3283887,       at   *14],    appeal

docketed, No. 24-60462 (5th Cir. Sept. 5, 2024); Texas v. Becerra,

No. 6:24-cv-211-JDK, 2024 WL 4490621, at *2 (E.D. Tex. Aug. 30,

2024), appeal docketed, No. 24-40568 (5th Cir. Sept. 5, 2024);

Florida v. Dep’t of Health & Hum. Servs., __ F. Supp. 3d __, __

(M.D. Fla. 2024) [2024 WL 3537510, at *20-21], appeal docketed,

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No. 24-12826 (11th Cir. Sept. 4, 2024). Even assuming Plaintiffs

are right that those preliminary orders mean that parts of the

2020    Rule   remain   in      effect,    providing      effective     relief    to

Plaintiffs     would,   in      essence,       require   the   Court    to   revive

regulations interpreting section 1557 that HHS promulgated in

2016. See Nondiscrimination in Health Programs and Activities, 81

Fed. Reg. 31,375 (May 18, 2016) (“the 2016 Rule”). HHS has twice

superseded the 2016 Rule with new sets of regulations, and the

Court is not persuaded that it has the power to reanimate the 2016

Rule’s provisions.

       Moreover,    granting     injunctive        or    declaratory    relief    in

Plaintiffs’ favor with respect to the aspects of the 2020 Rule

that may remain in effect would not plausibly alter Defendants’

conduct because such relief would conflict with the nationwide

orders issued by other district courts in response to the 2024

Rule. See Larsen v. U.S. Navy, 525 F.3d 1, 4 (D.C. Cir. 2008)

(explaining that when an “injunction or order declaring [an agency

policy] illegal would accomplish nothing,” it would “amount[] to

exactly the type of advisory opinion Article III prohibits”).

Plaintiffs’ lawsuit is therefore moot. The other district court to

have addressed mootness in the context of a challenge to the 2020

Rule has reached the same conclusion. See New York v. U.S. Dep’t

of Health & Human Servs., No. 1:20-cv-05583-AKH (S.D.N.Y. Nov. 12,

2024), Dkt. 196.

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     Neither     exception    to   the   mootness      doctrine    --   voluntary

cessation and capable of repetition yet evading review -- applies

in this case. See Calvary Chapel of Bangor v. Mills, 52 F.4th 40,

47 (1st Cir. 2022) (describing these exceptions). Plaintiffs argue

that the incoming presidential administration is likely to repeal

the 2024 Rule and promulgate new regulations akin to those in the

2020 Rule. Presuming that HHS will reimpose the challenged aspects

of the 2020 Rule would, however, “be inconsistent with the purpose

of   notice-and-comment       rulemaking”     and   require       the   Court     to

“speculate about future actions by policymakers.” Alaska, 17 F.4th

at 1228-29 (declining to apply the voluntary-cessation exception

for these reasons where the agency had announced an intent to

reimpose   the    challenged       rule).     Should    HHS      promulgate      new

regulations akin to those in the 2020 Rule, a party with standing

may file a new lawsuit to challenge those regulations.

     Accordingly, Defendants’ motion to dismiss on the basis of

mootness (Dkt. 164) is ALLOWED. Plaintiffs’ motion for partial

summary judgment (Dkt. 140) is DENIED as moot.



SO ORDERED.

                                             /s/ PATTI B. SARIS__________
                                             Hon. Patti B. Saris
                                             United States District Judge




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